EXHIBIT 5
6/28/2019                                                       Dream Yacht Charter Mail - Yacht Vendor Wire Instructions


DREAM Y,A
        oikiT
          l ..
                                                                                                                                  <erin@dreamyachtcharter.com>
                                                                                                                       Erin Houpt <erin dreamyachtcharter.com>
CHARTER

       Vendor Wire
 Yacht Vendor Wire Instructions
                   Instructions
 Jesse Russell lerussell@inccomservices.com>
                 <jerussell@inccomservices.com>                                                                                        Sat, Jun 22, 2019 at 11:34 AM
 To: Erin Houpt <erin@dreamyachtcharter.com>
 Cc: Reggie Cummings <reggiecummings@gmail.com>


   Hi Erin,



   As per our discussion yesterday, I am Reggie Cummings business partner and he has provided me with your bank wiring information, such that, I can wire your
   payment directly into your bank account; once the funds have posted into our company's
                                                                                company’s bank account. Please find attached a copy of a Proof Of Funds letter that
   has been provided to us by my bank as proof that we have the funds to make your payment. We are very confident that our funds will post into our Wells Fargo
   Bank account early next week as we discuss yesterday.



                                               If you have any questions; please call me directly on mobile number.
   Thanks for your patience in this matter and If



   Best Regards,



   Jesse



   Jesse E. Russell

   Chairman & CEO
   incCOMUNICATIONS Services, Inc.

   200 Cottontail Lane Suite B203W

   Somerset, New Jersey 08873

   Office: 732-809-7820

   Mobile: 732-690-5604

   Fax: 877-817-8088

   Text Enabled

   [Quoted text hidden]

   Beware! Wire fraud is on the rise.

   Accepting to execute wire transfer, disbursement instructions or to change
                                                                       change bank reference based only on
                                                                                                        on email is
                                                                                                                 is dangerous. Please verify by calling
                                                                                                                                                calling the
                                                                                                                                                        the
   originator of the email using previously known contact information prior to sending funds.


         Bank_Of_Ghana_Proof_of_Funds_Letter.pdf
         Bank_Of Ghana_Proof of Funds_Letter.pdf
         1094K




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https://mail.google.com/mail/u/0?ik=2817c34ee38Eview=pt&search=all&permmsgid=msg-f%3A16370553585706295018Esimpl=msg-f%3A1637055358570629501                           1/1
                               FIDELITY 0                  BAN
                                                                            Corporate Headquarters
                                                                            Fidelity Bank Ghana Limited
                                                                            1st to 4th Floor,Ridge Towers
                                                                            Ambassadorial Enclave Ridge,
                                                                            Accra-Ghana
                                                                            www.fidelitybank.com.gh

                                                                              Date: 23/04/2019


Attn: Mr. Jesse Russell
(C.E.O./CHAIRMAN I.C.S.GH LTD)


                      RE: PROOF OF FIC FUNDS LETTER FOR LOAN REPAYMENT


To: Whom It May Concern,

The Fidelity Bank Ghana Limited hereby, confirm, with full Banking responsibility and authority, that
our customer Mr. Jesse Russell President/CEO of INCCOMMUNICATIONS SERVICES will have the
financial funds to meet the repayment financial obligations for any legally recognized United States
Business Loan in the amount $2,000,000.00 U.S. Dollar; once the United States Department of Treasury
has credited the total amount of Mr. Jesse Russell President/CEO of INCCOMMUNICATIONS SERVICES
funds into his nominated account in the Wells Fargo Bank Account number ( REDACTED ).

Bank Name: WELLS FARGO BANK, NA,9ADD; 420 MONTGOMERY SAN FRANCISCO, CA 94104

Swift Code:    REDACTED


Account No: REDACTED

Account Name: incCOMMUNICATIONS SERVICES, Inc.

Beneficiary Address: 200 COTTOMTAIL LANE, Suite B203W Somerset, NJ 08873


This proof of FIC funds letter shall serve as an indication that Mr. Jesse Russell President/CEO of
INCCOMMUNICATIONS SERVICES has the appropriate funds to meet the repayment financial
obligations for any legally recognized United States Business Loan in the amount $2,000,000.00 U.S. to
any lender of the nominated amount up to $2,000,000.00 U.S. Dollar.


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Your regards
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  AAA
JOSEPH YE AH TAKYI
Head Compliance
Fidelity Bank Ghana Limited.
